       Case 1:09-cr-00028-SMR-HCA Document 61 Filed 08/27/09 Page 1 of 2


                                                                                          RECEIVED
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA                                     AUG 272009
                                                                                          CLERK, U.S. DISTRICT COURT
                                                                                          SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA/
                                                       NO. 1:09-cr-00028
                 Plaintiff/

     vs.

MATTHEW JAMES BUBAN/

                Defendant.


REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                 (PLEA AGREEMENT)

                The United States of America and the defendant/ having
both filed a written consent to conduct of the plea proceedings by
a magistrate judge/ appeared before me pursuant to Fed. R.                                       Crim.
P.    11 and LCrR 11.1. The defendant entered a plea of guilty to
Count       1   of    the       Indictment      charging          him   with        conspiracy        to
manufacture in excess of 50 grams of methamphetamine/ a Schedule II
controlled           substance/        in    violation       of    Title       21    U.S.C.         846/
§§    841(a) (1) and 841(b) (1) (A).             After advising and questioning the
defendant under oath concerning each of the subjects addressed in
Rule       11 (b) (1) /    I    determined      that    the       guilty plea         was      in    its
entirety voluntarily/ knowingly and intelligently made and did not
result from force/ threats/ or promises (other than promises in the
plea agreement). I- further determined that there is a: factual basis
for    the guilty plea on each of                      the   essential elements of                   the
offense (s) in question.               A plea agreement was disclosed at the plea
proceeding and defendant stated he understood its terms and agreed
to be bound by them.                  To the extent the plea agreement is of the
type specified in Rule II(c) (1) (A) or (C) defendant was advised the
sentencing           judge      may    elect    to   defer        acceptance         of    the      plea
agreement         until        after   the     sentencing         judge    has       reviewed        the
    Case 1:09-cr-00028-SMR-HCA Document 61 Filed 08/27/09 Page 2 of 2



presentence report as permitted by Rule 11(c) (3) (A).     To the extent
the plea agreement is of the type specified in Rule 11(c) (1) (B)
defendant was advised by the Court that defendant has no right to
withdraw the plea if the Court does not follow a recommendation or
request in question.
          I    recommend that the plea(s) of guilty be accepted and
that the defendant be adjudged guilty and have sentence imposed
accordingly.    A presentence report has been ordered and a status
conference scheduled.




                                        Celeste F. Bremer
                                        U.S. Magistrate Judge



                                        DATE:




                                 NOTICE

          Failure to file written objections to this Report and
Recommendation within ten (10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge.
28 U.S.C. § 636(b) (1) (B). The Report and Recommendation was served
this date by delivery of a copy thereof to counsel for the
government and defendant in open court.




                                    2
